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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                             Chapter 15

 MICHAEL DAVID GREENFIELD                           Case No. 21-11411 (SCC)
 a.k.a. MICHAEL BEN-ARI

          Debtor in a Foreign Proceeding.


        ORDER SCHEDULING HEARING ON CHAPTER 15 PETITION AND
    SPECIFYING FORM AND MANNER OF SERVICE OF NOTICE OF HEARING

          Upon the application (the “Application”) of the Lior Dagan, the trustee and foreign

representative of Michael David Greenfield (“Greenfield” or the “Debtor”) in Greenfield’s

insolvency proceeding (the “Greenfield Proceeding”) in the District Court of Tel Aviv-Yafo

under the State of Israel’s Insolvency and Economic Rehabilitation Law, 5778-2018, for entry of

an order scheduling a hearing on the Petition (Official Form 401) and Verified Petition Under

Chapter 15 for Recognition of a Foreign Main Proceeding and Related Relief (collectively, the

“Chapter 15 Petition”) in this Chapter 15 Case and specifying the form and manner of service of

notice of the hearing; it is hereby:

          ORDERED, that the form of the Notice attached hereto is hereby approved; and it is further

          ORDERED, that copies of the Notice, the Chapter 15 Petition and the documents filed in

support thereof (collectively, the “Notice Documents”) shall be served by email, fax, first class

mail or FedEx, within ten (10) business days of entry of the order approving the relief sought in

this Motion, to: (a) the Office of the United States Trustee for the Southern District of New York,

(b) the Debtor, and (c) all known parties against whom provisional relief is sought as set forth in

the statements of Foreign Representative required by Federal Rule of Bankruptcy Procedure

1007(a)(4)(B), attached to the Chapter 15 Petition, provided that, for creditors who are parties to
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the Greenfield Proceeding, the Notice Documents may be served on their counsel of record in that

proceeding; and it is further

       ORDERED, that service of the Notice Documents in accordance with this Order, is hereby

approved as adequate and sufficient notice, and shall constitute valid service of the Notice

Documents on all interested parties; and it is further

       ORDERED, that a hearing (the “Hearing”) on the relief sought in the Chapter 15 Petition

as well as responses or objections, if any, to the Notice Documents shall be held on September 14,

2021 at 10:00 a.m. New York time, or as soon thereafter as counsel shall be heard. The Hearing

will be held telephonically and conducted via Court Solutions LLC; parties may register at

www.court-solutions.com to listen to or participate in the Hearing; and it is further

       ORDERED, that responses or objections, if any, to the Notice Documents must be in a

writing describing the basis therefore and shall be filed with the Court electronically in accordance

with General Order M-242 by registered users of the Court’s electronic case filing system, and by

all other parties in interest, on a compact disk, preferably in Portable Document Format (PDF),

Word Perfect or any other Windows-based word processing format, with a hard copy to the United

States Bankruptcy Judge, and served upon Seiden Law Group LLP, 322 Eighth Avenue, Suite

1704, New York, New York 10001 (Attention: Amiad Kushner, Esq.), United States counsel to

Lior Dagan as foreign representative for Michael David Greenfield, so as to be received on or

before 4:00 p.m. ET on September 7, 2021; and it is further

       ORDERED, that the Hearing may be adjourned from time to time without notice other than

an announcement in open court at the Hearing or the adjourned date of the hearing; and it is further

       ORDERED, that all notice requirements specified in section 1514(c) of Bankruptcy Code

not incorporated herein are otherwise waived; and it is further


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       ORDERED, that service pursuant to this Order shall be good and sufficient service and

adequate notice of the hearing to consider all the relief sought in the Chapter 15 Petition.



Dated: August 6, 2021
       New York, New York


                                              /S/ Shelley C. Chapman
                                              THE HONORABLE SHELLEY C. CHAPMAN
                                              UNITED STATES BANKRUPTCY JUDGE




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                                     Exhibit

                                 Form of Notice
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Amiad Kushner
Jacob K. Jou
Dov B. Gold
SEIDEN LAW GROUP LLP
322 Eighth Avenue, Suite 1704
New York, NY 10001
Telephone: (646) 766-1914

Attorneys for Lior Dagan as Foreign Representative of
Michael David Greenfield (a.k.a. Michael Ben-Ari)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                           Chapter 15

 MICHAEL DAVID GREENFIELD                         Case No. 21-11411 (SCC)
 a.k.a. MICHAEL BEN-ARI

          Debtor in a Foreign Proceeding.


 NOTICE OF FILING AND HEARING ON VERIFIED PETITION UNDER CHAPTER
           15 OF THE UNITED STATES BANKRUPTCY CODE AND
    NOTICE PURSUANT TO FED. R. BANKR. P. 9017 AND FED R. CIV. P. 44.1

          PLEASE TAKE NOTICE that, on July 28, 2021, Lior Dagan, in his capacity as the

 court-appointed trustee and duly authorized foreign representative (the “Foreign

 Representative” or “Trustee”) of Michael David Greenfield (“Greenfield” or the “Debtor”),

 in Greenfield’s insolvency proceeding (the “Greenfield Proceeding”) in the District Court of

 Tel Aviv-Yafo under the State of Israel’s Insolvency and Economic Rehabilitation Law, 5778-

 2018 (the “Insolvency Act”), filed a Petition (Official Form 401) (the “Petition”) and a Verified

 Petition Under Chapter 15 for Recognition of a Foreign Main Proceeding and Related Relief

 (the “Verified Petition,” and collectively with the Petition, the “Chapter 15 Petition”),

 commencing a case under chapter 15 of title 11 of the United States Code (the “Bankruptcy

 Code”) ancillary to the Greenfield Proceeding and seeking recognition of such foreign
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proceeding as a “foreign main proceeding” and relief in aid of the Greenfield Proceeding in the

United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy

Court”).

       PLEASE TAKE FURTHER NOTICE that a copy of the Petition is attached hereto,

along with: (i) the lists required to be filed with the Petition pursuant to Bankruptcy Rule

1007(a)(4); (ii) the Verified Petition; (iii) the Declaration of Lior Dagan in Support of the

Verified Petition required to be filed pursuant to section 1515 of the Bankruptcy Code; and (iv)

the Declaration of Sivan Lev, the Trustee’s Israeli Counsel in Support of the Verified Petition

(collectively, the “Supporting Documents”).

       PLEASE TAKE FURTHER NOTICE that pursuant to the Order Scheduling Hearing

on Verified Chapter 15 Petition and Specifying Form and Manner of Notice of Hearing (the

“Scheduling Order”), a copy of which is attached hereto, the Bankruptcy Court has scheduled a

hearing on September 14, 2021 at 10:00 a.m. (ET), before the Honorable Shelley C. Chapman

(the “Hearing”). The Hearing will be held telephonically and conducted via Court Solutions

LLC; parties may register at www.court-solutions.com to listen to or participate in the Hearing.

       PLEASE TAKE FURTHER NOTICE that, pursuant to Local Rule 2002-4, at the

Hearing the Bankruptcy Court may order the scheduling of a case management conference to

consider the efficient administrative of this case.

       PLEASE TAKE FURTHER NOTICE that any party in interest wishing to submit a

response or objection to the Chapter 15 Petition or the relief requested by the Trustee must do

so pursuant to the Bankruptcy Code and the Local and Federal Rules of Bankruptcy Procedure,

including, without limitation, Federal Rules of Bankruptcy Procedure Rule 1011, in writing and

setting forth the bases therefore, and such response or objection must be filed with the Office of


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the Clerk of the Court, Room 534, One Bowling Green, New York, New York 10004-1408; and

served on the attorneys for the Trustee, (Seiden Law Group LLP, 322 Eighth Avenue, Suite

1704, New York, New York 10004 U.S.A., Attn: Amiad Kushner, Esq.), so as to be received

on or before 4:00 p.m. E.T. on September 7, 2021.

       PLEASE TAKE FURTHER NOTICE that any response or objection to be filed with

the Office of the Clerk of the Court must be filed (i) electronically by registered users of the

Bankruptcy Court’s electronic case filing system in accordance with General Order M-242 of

the Bankruptcy Court for the Southern District of New York, a copy of which may be viewed

on the Bankruptcy Court’s website, www.nysb.uscourts.gov; and (ii) by all other parties in

interest on a compact disk, with hard copy provided to the Chambers of the Honorable Shelley

C. Chapman, United States Bankruptcy Judge, United States Bankruptcy Court, One

Bowling Green, New York, New York 10004 U.S.A.

       PLEASE TAKE FURTHER NOTICE that all parties in interest opposed to the

Chapter 15 Petition or the Trustee’s request for relief must appear at the Hearing at the time and

place set forth above.

       PLEASE TAKE FURTHER NOTICE that if no response or objection is timely filed

and served as provided above, the Bankruptcy Court may grant the recognition and relief

requested by the Trustee without further notice or hearing.

       PLEASE TAKE FURTHER NOTICE that the Hearing may be adjourned from time

to time without further notice other than an announcement in open court at the Hearing of the

adjourned date or dates or any further adjourned hearing.

       PLEASE TAKE FURTHER NOTICE that Trustee intends to raise issues pertaining

to foreign law, specifically Israel law, in connection with the Chapter 15 Petition: (i)




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 recognizing the Greenfield Proceeding as a foreign main proceeding pursuant to chapter 15 of

 the Bankruptcy Code and the Trustee as Greenfield’s foreign representative under sections 1509

 and 1517 of the Bankruptcy Code; (ii) granting automatic relief pursuant to section 1520 of the

 Bankruptcy Code; (iii) granting other and additional relief pursuant to sections 1507 and

 1521(a) and (b) of the Bankruptcy Code.

        PLEASE TAKE FURTHER NOTICE that copies of the Chapter 15 Petition and

 certain other pleadings filed contemporaneously therewith are available by accessing the

 Court’s Electronic Case Filing System, which can be accessed from the Court’s website at

 https://ecf.nysb.uscourts.gov (a PACER login and password are required to retrieve a

 document) and/or upon written request to the Trustee’s counsel addressed to:

                            SEIDEN LAW GROUP LLP
                            322 Eighth Avenue, Suite 1704
                            New York, NY 10001
                            Telephone: (646) 766-1914
                            Attn: Amiad Kushner


Dated: August __, 2021
       New York, New York

                                                    SEIDEN LAW GROUP LLP


                                                    _/s/ Amiad Kushner
                                                    Amiad Kushner
                                                    Jacob K. Jou
                                                    Dov B. Gold
                                                    322 Eighth Avenue, Suite 1704
                                                    New York, NY 10001
                                                    Telephone: (646) 766-1914

                                                    Attorneys for Lior Dagan as Foreign
                                                    Representative of Michael David
                                                    Greenfield (a.k.a. Michael Ben-Ari)




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